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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

GRUMPY CAT LIMITED,                                         )
                                                            )   Case No. 23-cv-2560
               Plaintiff,                                   )
                                                            )    Judge
v.                                                          )
                                                            )
THE INDIVIDUALS, CORPORATIONS,                              )
LIMITED LIABILITY COMPANIES,                                )
PARTNERSHIPS AND UNINCORPORATED                             )
ASSOCIATIONS IDENTIFIED                                     )
ON SCHEDULE A HERETO,                                       )
                                                            )
               Defendants.                                  )

                                         COMPLAINT

       Plaintiff GRUMPY CAT LIMITED (“Plaintiff”), by undersigned counsel, hereby

complains of the Partnerships, Unincorporated Associations and others identified in Schedule A

attached hereto (collectively, “Defendants”), and for its Complaint hereby alleges as follows:


                                JURISDICTION AND VENUE

       1.      This Court has original subject matter jurisdiction over the claims in this action

pursuant to the provisions of the Lanham Act, 15 U.S.C. § 1051 et seq., the Copyright Act, 17

U.S.C. § 101 et seq.; 28 U.S.C. § 1338(a)–(b) and 28 U.S.C. § 1331. This Court has jurisdiction

over the claims in this action that arise under the laws of the State of Illinois pursuant to 28

U.S.C. § 1367(a), because the state law claims are so related to the federal claims that they form

part of the same case or controversy and derive from a common nucleus of operative facts.

       2.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391, and this Court may

properly exercise personal jurisdiction over Defendants since each of the Defendants directly

targets consumers in the United States, including Illinois, through at least the fully interactive
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commercial Internet stores operating under the Defendant Domain Names and/or the Online

Marketplace Accounts identified in Schedule A attached hereto (collectively, the “Defendant

Internet Stores”). Specifically, Defendants are reaching out to do business with Illinois residents

by operating one or more commercial, interactive Internet Stores through which Illinois residents

can purchase products bearing counterfeit versions of Plaintiff’s trademark. Each of the

Defendants has targeted sales from Illinois residents by operating online stores that offer

shipping to the United States, including Illinois, accept payment in U.S. dollars and, on

information and belief, has sold products bearing counterfeit versions of Plaintiffs’ federally

registered trademark to residents of Illinois. Each of the Defendants is committing tortious acts

in Illinois, is engaging in interstate commerce, and has wrongfully caused Plaintiff substantial

injury in the State of Illinois.

                                        INTRODUCTION

        3.      This action has been filed by Plaintiff to combat online counterfeiters who trade

upon Plaintiff’s reputation and goodwill by selling and/or offering for sale products in connection

with Plaintiff’s GRUMPY CAT trademarks, which are covered by U.S. Trademark Registration

Nos. 4,907,212; 5,516,378; 4,820,434; 4,417,549; 4,672,289; 5,073,528; 4,527,097; 4,930,286

and 4,907,213 (the “Grumpy Cat Trademarks”). The Registrations are valid, subsisting, and in

full force and effect. True and correct copies of the federal trademark registration certificates are

attached hereto as Group Exhibit 1.

        4.      The Defendants create numerous Defendant Internet Stores and design them to

appear to be selling genuine Plaintiff’s products, while selling inferior imitations of Plaintiff’s

products. The Defendant Internet Stores share unique identifiers, such as design elements and

similarities of the counterfeit products offered for sale, establishing a logical relationship between



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them and suggesting that Defendants’ illegal operations arise out of the same transaction,

occurrence, or series of transactions or occurrences. Defendants attempt to avoid liability by going

to great lengths to conceal both their identities and the full scope and interworking of their illegal

counterfeiting operation. Plaintiff is forced to file this action to combat Defendants’ counterfeiting

of Plaintiff’s registered trademarks, as well as to protect unknowing consumers from purchasing

unauthorized GRUMPY CAT products over the Internet. Plaintiff has been and continues to be

irreparably damaged through consumer confusion, dilution, and tarnishment of their valuable

trademarks as a result of Defendants’ actions and seeks injunctive and monetary relief.

        5.      This Court has personal jurisdiction over each Defendant, in that each Defendant

conducts significant business in Illinois and in this Judicial District, and the acts and events

giving rise to this lawsuit of which each Defendant stands accused were undertaken in Illinois

and in this Judicial District. In addition, each Defendant has offered to sell and ship infringing

products into this Judicial District.

                                        THE PLAINTIFFS

        6.      Plaintiff GRUMPY CAT LIMITED is an Ohio limited liability company.

        7.      Plaintiff GRUMPY CAT LIMITED is the registered owner of the GRUMPY

CAT Trademarks (U.S. Trademark Registration Nos. 4,907,212; 5,516,378; 4,820,434;

4,417,549; 4,672,289; 5,073,528; 4,527,097; 4,930,286 and 4,907,213.). Plaintiff also owns

numerous copyright registrations for various Grumpy Cat works as listed in Exhibit 2. Grumpy

Cat is an American Internet celebrity cat which became an internet sensation after her photo was

posted on Reddit on September 22, 2012. The videos went viral and her popularity has continued

to increase. GRUMPY CAT LIMITED is the official source of GRUMPY CAT products, which

include:



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    https://www.grumpycats.com/shop




       8.     Since at least October 15, 2013, the GRUMPY CAT marks have been the subject

of substantial and continuous marketing and promotion by Plaintiff. Plaintiff has and continues

to widely market and promote the GRUMPY CAT marks in the industry and to consumers.

Plaintiff’s promotional efforts include — by way of example, but not limitation — substantial

print media, the GRUMPY CAT website and social media sites, and point of sale materials.

       9.     The GRUMPY CAT Trademarks are distinctive and identify the merchandise as

goods from Plaintiff. The registrations for the GRUMPY CAT Trademarks constitute prima

facie evidence of their validity and of Plaintiff’s exclusive right to use the GRUMPY CAT

Trademarks pursuant to 15 U.S.C. § 1057(b).

      10.     The GRUMPY CAT Trademarks qualify as famous marks, as that term is used in

15 U.S.C. §1125 (c)(1) and has been continuously used and never abandoned.

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       11.      Plaintiff has expended substantial time, money, and other resources in developing,

advertising, and otherwise promoting the GRUMPY CAT Trademarks. As a result, products

bearing the GRUMPY CAT Trademarks are widely recognized and exclusively associated by

consumers, the public, and the trade as being products sourced from Plaintiff.

                                          THE DEFENDANTS

       12.      Defendants are individuals and business entities who, upon information and

belief, reside in the People’s Republic of China or other foreign jurisdictions. Defendants

conduct business throughout the United States, including within Illinois and in this Judicial

District, through the operation of fully interactive commercial websites and online marketplaces

operating under the Defendant Internet Stores.       Each Defendant targets the United States,

including Illinois, and has offered to sell and, on information and belief, has sold and continues

to sell counterfeit GRUMPY CAT products to consumers within the United States, including

Illinois and in this Judicial District.

                           THE DEFENDANTS’ UNLAWFUL CONDUCT

        13.     The success of the GRUMPY CAT brand has resulted in its counterfeiting.

Plaintiff has identified numerous domain names linked to fully interactive websites and

marketplace listings on platforms such as iOffer, eBay, PayPal, Fruugo, Wish, Amazon, DHgate,

Joom and Walmart, including the Defendant Internet Stores, which were offering for sale,

selling, and importing counterfeit GRUMPY CAT products to consumers in this Judicial District

and throughout the United States. Defendants have persisted in creating the Defendant Internet

Stores. Internet websites like the Defendant Internet Stores are estimated to receive tens of

millions of visits per year and to generate over $135 billion in annual online sales. According to

an intellectual property rights seizures statistics report issued by Homeland Security, the



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manufacturer’s suggested retail price (MSRP) of goods seized by the U.S. government in fiscal

year 2017 was over $1.21 billion. Internet websites like the Defendant Internet Stores are also

estimated to contribute to tens of thousands of lost jobs for legitimate businesses and broader

economic damages such as lost tax revenue every year.

       14.     Upon information and belief, Defendants facilitate sales by designing the

Defendant Internet Stores so that they appear to unknowing consumers to be authorized online

retailers, outlet stores, or wholesalers selling genuine GRUMPY CAT products. Many of the

Defendant Internet Stores look sophisticated and accept payment in U.S. dollars via credit cards

or through eBay, PayPal, Fruugo, Wish, Amazon, DHgate, Joom and Walmart. Defendant

Internet Stores often include images and design elements that make it very difficult for

consumers to distinguish such counterfeit sites from an authorized website. Defendants further

perpetuate the illusion of legitimacy by offering “live 24/7” customer service and using indicia of

authenticity and security that consumers have come to associate with authorized retailers,

including the McAfee® Security, VeriSign®, Visa®, MasterCard®, and PayPal® logos.

       15.     Plaintiff has not licensed or authorized Defendants to use the GRUMPY CAT

Trademarks or copyrights, and none of the Defendants are authorized retailers of genuine

GRUMPY CAT products.

       16.     Upon information and belief, Defendants also deceive unknowing consumers by

using the GRUMPY CAT Trademarks without authorization within the content, text, and/or meta

tags of their websites to attract various search engines crawling the Internet looking for websites

relevant to consumer searches for GRUMPY CAT products. Additionally, upon information and

belief, Defendants use other unauthorized search engine optimization (SEO) tactics and social

media spamming so that the Defendant Internet Store listings show up at or near the top of relevant



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search results and misdirect consumers searching for genuine GRUMPY CAT products. Further,

Defendants utilize similar illegitimate SEO tactics to propel new domain names to the top of

search results after others are shut down. As such, Plaintiff also seeks to disable Defendant

Domain Names owned by Defendants that are the means by which the Defendants could

continue to sell counterfeit GRUMPY CAT products.

       17.     Defendants go to great lengths to conceal their identities and often use multiple

fictitious names and addresses to register and operate their massive network of Defendant Internet

Stores. For example, many of Defendants’ names and physical addresses used to register the

Defendant Domain Names are incomplete, contain randomly typed letters, or fail to include cities

or states. Other Defendant Domain Names use privacy services that conceal the owners’ identity

and contact information. Upon information and belief, Defendants regularly create new websites

and online marketplace accounts on various platforms using the identities listed in Schedule A to

the Complaint, as well as other unknown fictitious names and addresses. Such Defendant Internet

Store registration patterns are one of many common tactics used by the Defendants to conceal their

identities, the full scope and interworking of their massive counterfeiting operation, and to avoid

being shut down.

       18.     Even though Defendants operate under multiple fictitious names, there are numerous

similarities among the Defendant Internet Stores. For example, some of the Defendant websites

have virtually identical layouts, even though different aliases were used to register the respective

domain names. In addition, the counterfeit GRUMPY CAT products for sale in the Defendant

Internet Stores bear similarities and indicia of being related to one another, suggesting that the

counterfeit GRUMPY CAT products were manufactured by and come from a common source and

that, upon information and belief, Defendants are interrelated. The Defendant Internet Stores also



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include other notable common features, including use of the same domain name registration

patterns, unique shopping cart platforms, accepted payment methods, check-out methods, meta

data, illegitimate SEO tactics, HTML user-defined variables, domain redirection, lack of contact

information, identically or similarly priced items and volume sales discounts, similar hosting

services, similar name servers, and the use of the same text and images.

       19.     In addition to operating under multiple fictitious names, Defendants in this case

and defendants in other similar cases against online counterfeiters use a variety of other common

tactics to evade enforcement efforts. For example, counterfeiters like Defendants will often

register new domain names or online marketplace accounts under new aliases once they receive

notice of a lawsuit. Counterfeiters also often move website hosting to rogue servers located

outside the United States once notice of a lawsuit is received. Rogue servers are notorious for

ignoring take down demands sent by brand owners. Counterfeiters also typically ship products in

small quantities via international mail to minimize detection by U.S. Customs and Border

Protection. A 2012 U.S. Customs and Border Protection report on seizure statistics indicated that

the Internet has fueled “explosive growth” in the number of small packages of counterfeit goods

shipped through the mail and express carriers.

       20.     Further, counterfeiters such as Defendants typically operate multiple credit card

merchant accounts and eBay, PayPal, Fruugo, Wish, Amazon, DHgate, Joom and Walmart

accounts behind layers of payment gateways so that they can continue operation in spite of

Plaintiff’s enforcement efforts. Upon information and belief, Defendants maintain off-shore bank

accounts and regularly move funds from their eBay, PayPal, Fruugo, Wish, Amazon, DHgate,

Joom and Walmart accounts to off-shore bank accounts outside the jurisdiction of this Court.

Indeed, analysis of eBay, PayPal, Fruugo, Wish, Amazon, DHgate, Joom and Walmart transaction



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logs from previous similar cases indicates that offshore counterfeiters regularly move funds from

U.S.-based eBay, PayPal, Fruugo, Wish, Amazon, DHgate, Joom and Walmart accounts to

China-based bank accounts outside the jurisdiction of this Court.

        21.    Defendants, without any authorization or license from Plaintiffs, have knowingly

and willfully used and continue to use the GRUMPY CAT Trademarks in connection with the

advertisement, distribution, offering for sale, and sale of counterfeit GRUMPY CAT products

into the United States and Illinois over the Internet. Each Defendant Internet Store offers

shipping to the United States, including Illinois and, on information and belief, each Defendant

has offered to sell counterfeit GRUMPY CAT products into the United States, including Illinois.

        22.    Defendants’ use of the GRUMPY CAT Trademarks in connection with the

advertising, distribution, offering for sale, and sale of counterfeit GRUMPY CAT products,

including the sale of counterfeit GRUMPY CAT products into Illinois, is likely to cause and has

caused confusion, mistake, and deception by and among consumers and is irreparably harming

Plaintiffs.

                                           COUNT I
     TRADEMARK INFRINGEMENT AND COUNTERFEITING (15 U.S.C. § 1114)

        23.    Plaintiff repeats and incorporates by reference herein the allegations contained in

paragraphs 1-22 of this Complaint.

        24.    This is a trademark infringement action against Defendants based on their

unauthorized use in commerce of counterfeit imitations of the registered GRUMPY CAT

Trademarks in connection with the sale, offering for sale, distribution, and/or advertising of

infringing goods. GRUMPY CAT Trademarks are highly distinctive marks. Consumers have

come to expect the highest quality from Plaintiffs’ products provided under the GRUMPY CAT

Trademarks.

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       25.     Defendants have sold, offered to sell, marketed, distributed, and advertised, and

are still selling, offering to sell, marketing, distributing, and advertising products in connection

with the GRUMPY CAT Trademarks without Plaintiff’s permission.

       26.     Plaintiff GRUMPY CAT LIMITED is the registered owner of the GRUMPY

CAT Trademarks (U.S. Registration Nos. 4,907,212; 5,516,378; 4,820,434; 4,417,549;

4,672,289; 5,073,528; 4,527,097; 4,930,286 and 4,907,213). The United States Registrations for

the GRUMPY CAT Trademarks (Group Exhibit 1) are in full force and effect. Upon

information and belief, Defendants have knowledge of Plaintiff’s rights in the GRUMPY CAT

Trademarks and are willfully infringing and intentionally using counterfeits of the GRUMPY

CAT Trademarks. Defendants’ willful, intentional, and unauthorized use of the GRUMPY CAT

Trademarks is likely to cause and is causing confusion, mistake, and deception as to the origin

and quality of the counterfeit goods among the general public.

       27.     Defendants’     activities   constitute   willful   trademark    infringement     and

counterfeiting under 15 U.S.C. §§ 1114, 1117.

       28.     The injuries and damages sustained by Plaintiff has been directly and proximately

caused by Defendants’ wrongful reproduction, use, advertisement, promotion, offering to sell,

and sale of counterfeit GRUMPY CAT products.

       29.     Plaintiff has no adequate remedy at law, and, if Defendants’ actions are not

enjoined, Plaintiff will continue to suffer irreparable harm to their reputation and the goodwill of

their well-known GRUMPY CAT Trademarks.




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                                   COUNT II
                  FALSE DESIGNATION OF ORIGIN (15 U.S.C. § 1125(a))

         30.    Plaintiff repeats and incorporates by reference herein the allegations contained in

paragraphs 1-29 of this Complaint.

         31.    Defendants’ promotion, marketing, offering for sale, and sale of counterfeit

GRUMPY CAT products has created and is creating a likelihood of confusion, mistake, and

deception among the general public as to the affiliation, connection, or association with Plaintiff or

the origin, sponsorship, or approval of Defendants’ counterfeit GRUMPY CAT products by

Plaintiff.

         32.    By using the GRUMPY CAT Trademarks in connection with the sale of

counterfeit GRUMPY CAT products, Defendants create a false designation of origin and a

misleading representation of fact as to the origin and sponsorship of the counterfeit GRUMPY

CAT products.

         33.    Defendants’ false designation of origin and misrepresentation of fact as to the

origin and/or sponsorship of the counterfeit GRUMPY CAT products to the general public is a

willful violation of Section 43 of the Lanham Act, 15 U.S.C. § 1125.

         34.    Plaintiff has no adequate remedy at law and, if Defendants’ actions are not

enjoined, Plaintiff will continue to suffer irreparable harm to its reputation and the goodwill of its

brand.

                                     COUNT III
                     COPYRIGHT INFRINGEMENT (17 U.S.C. § 501(a))

         35.    Plaintiff repeats and incorporates by reference herein the allegations contained in

paragraphs 1-34 of this Complaint.




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       36.     Plaintiff’s products have significant value and have been produced and created at

considerable expense.

       37.     Plaintiff, at all relevant times, has been the holder of the pertinent exclusive rights

infringed by Defendants, as alleged hereunder, including but not limited to the copyrighted

products, including derivative works. Plaintiff’s works are the subject of valid Certificates of

Copyright Registration issued by the Register of Copyrights. (Exhibit 2). The copyrighted works

include a copyright notice advising the viewer that Plaintiff’s products are protected by the

Copyright Laws.

       38.     Upon information and belief, Defendants had access to the works through

Plaintiff’s normal business activities. After accessing Plaintiff’s works, Defendants wrongfully

created copies of the copyrighted products without Plaintiff’s consent and engaged in acts of

widespread infringement.

       39.     Plaintiff is informed and upon belief thereon alleges that Defendants further

infringed Plaintiff’s copyrights by making or causing to be made derivative works from Plaintiff’s

products by producing and distributing reproductions without Plaintiff’s permission.

       40.     Plaintiff’s products include a copyright notice advising the general public that

Plaintiff’s products are protected by Copyright Laws.

       41.     Defendants, without the permission or consent of Plaintiff, have, and continue to

sell online infringing derivative works of Plaintiff’s copyrighted products. Defendants have

violated Plaintiff’s exclusive rights of reproduction and distribution. Defendants’ actions

constitute infringement of Plaintiff’s exclusive rights protected under the Copyright Act (17

U.S.C. §101 et seq.).




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        42.     As a direct result of the acts of copyright infringement, Defendants have obtained

direct and indirect profits they would not otherwise have realized but for their infringement of the

copyrighted products. Plaintiff is entitled to disgorgement of Defendants’ profits directly and

indirectly attributable to their infringement of Plaintiff’s products.

        43.     The foregoing acts of infringement constitute a collective enterprise of shared,

overlapping facts and have been willful, intentional, and in disregard of and with indifference to

the rights of Plaintiff.

        44.     As a result of Defendants infringement of Plaintiff’s exclusive rights under

copyrights, Plaintiff is entitled to relief pursuant to 17 U.S.C. §504 and to its attorneys’ fees and

costs pursuant to 17 U.S.C. §505.

        45.     The conduct of Defendants is causing and, unless enjoined and restrained by this

Court, will continue to cause Plaintiff irreparable injury that cannot be compensated fully or

monetized. Plaintiff has no adequate remedy at law. Pursuant to 17 U.S.C. §§502 and 503,

Plaintiff is entitled to injunctive relief prohibiting Defendants from further infringing Plaintiff’s

copyright and ordering Defendants to destroy all unauthorized copies. Defendants’ copies, plates,

and other embodiment of Plaintiff’s products from which copies can be reproduced should be

impounded and forfeited to Plaintiff as instruments of infringement, and all infringing copies

created by Defendants should be impounded and forfeited to Plaintiff, under 17 U.S.C. §503.


                                COUNT IV
    VIOLATION OF ILLINOIS UNIFORM DECEPTIVE TRADE PRACTICES ACT
                         (815 ILCS § 510/1, et seq.)

        46.     Plaintiff repeats and incorporates by reference herein the allegations contained in

paragraphs 1-45 of this Complaint.




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       47.      Defendants have engaged in acts violating Illinois law including, but not limited

to, passing off their counterfeit GRUMPY CAT products as those of Plaintiff, causing a

likelihood of confusion and/or misunderstanding as to the source of their goods, causing a

likelihood of confusion and/or misunderstanding as to an affiliation, connection, or association

with genuine GRUMPY CAT products, representing that their products have Plaintiff’s approval

when they do not, and engaging in other conduct which creates a likelihood of confusion or

misunderstanding among the public.

       48.      The foregoing Defendants’ acts constitute a willful violation of the Illinois

Uniform Deceptive Trade Practices Act, 815 ILCS § 510/1, et seq.

       49.      Plaintiff has no adequate remedy at law, and Defendants’ conduct has caused

Plaintiff to suffer damage to their reputation and goodwill. Unless enjoined by the Court,

Plaintiff will suffer future irreparable harm as a direct result of Defendants’ unlawful activities.


                                      PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for judgment against Defendants and each of them as
follows:

       1) That Defendants, their affiliates, officers, agents, servants, employees, attorneys,

confederates, and all persons acting for, with, by, through, under, or in active concert with them

be temporarily, preliminarily, and permanently enjoined and restrained from:

       a. using the GRUMPY CAT Trademarks and copyrighted artwork or any reproductions,

             counterfeit copies, or colorable imitations thereof in any manner in connection with

             the distribution, marketing, advertising, offering for sale, or sale of any product that is

             not a genuine GRUMPY CAT product or is not authorized by Plaintiff to be sold in

             connection with the GRUMPY CAT Trademarks and copyrighted artwork;



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  b. passing off, inducing, or enabling others to sell or pass off any products as a genuine

     GRUMPY CAT products or any other products produced by Plaintiff that are not

     Plaintiff’s or are not produced under the authorization, control, or supervision of

     Plaintiff and approved by Plaintiff for sale under the GRUMPY CAT Trademarks and

     copyrighted artwork;

  c. committing any acts calculated to cause consumers to believe that Defendants’

     counterfeit GRUMPY CAT products are sold under the authorization, control, or

     supervision of Plaintiff, or are sponsored by, approved by, or otherwise connected

     with Plaintiff;

  d. further infringing the GRUMPY CAT Trademarks and copyrighted artwork and

     damaging Plaintiff’s goodwill;

  e. otherwise competing unfairly with Plaintiff in any manner;

  f. shipping, delivering, holding for sale, transferring or otherwise moving, storing,

     distributing, returning, or otherwise disposing of, in any manner, products or inventory

     not manufactured by or for Plaintiff, nor authorized by Plaintiff to be sold or offered

     for sale, and which bear any trademark of Plaintiff, including the GRUMPY CAT

     Trademarks and copyrighted artwork, or any reproductions, counterfeit copies, or

     colorable imitations thereof;

  g. using, linking to, transferring, selling, exercising control over, or otherwise owning the

     Online Marketplace Accounts, the Defendant Domain Names, or any other domain

     name or online marketplace account that is being used to sell or is the means by which

     Defendants could continue to sell counterfeit GRUMPY CAT products; and




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       h. operating and/or hosting websites at the Defendant Domain Names and any other domain

           names registered or operated by Defendants that are involved with the distribution,

           marketing, advertising, offering for sale, or sale of any product bearing the GRUMPY

           CAT Trademarks and copyrighted artwork or any reproduction, counterfeit copy or

           colorable imitation thereof that is not a genuine GRUMPY CAT products or not

           authorized by Plaintiff to be sold in connection with the GRUMPY CAT Trademarks

           and copyrighted artwork;

       2) That Defendants, within fourteen (14) days after service of judgment with notice of entry

thereof upon them, be required to file with the Court and serve upon Plaintiff a written report under

oath setting forth in detail the manner and form in which Defendants have complied with paragraph

1, a through h, above;

       3) Entry of an Order that, at Plaintiff’s choosing, the registrant of the Defendant Domain

Names shall be changed from the current registrant to Plaintiff, and that the domain name

registries for the Defendant Domain Names, including, but not limited to, VeriSign, Inc.,

Neustar, Inc., Afilias Limited, CentralNic, Nominet, and the Public Interest Registry, shall

unlock and change the registrar of record for the Defendant Domain Names to a registrar of

Plaintiff’s selection, and that the domain name registrars take any steps necessary to transfer the

Defendant Domain Names to a registrar of Plaintiff’s selection; or that the same domain name

registries shall disable the Defendant Domain Names and make them inactive and untransferable;

       4) Entry of an Order that, upon Plaintiff’s request, those in privity with Defendants and

those with notice of the injunction, including any online marketplaces such as iOffer, eBay,

PayPal, Fruugo, Wish, Amazon, DHgate, Joom and Walmart, social media platforms, Facebook,




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YouTube, LinkedIn, Twitter, Internet search engines such as Google, Bing and Yahoo, web hosts

for the Defendant Domain Names, and domain name registrars, shall:

       a. disable and cease providing services for any accounts through which Defendants

           engage in the sale of counterfeit GRUMPY CAT products using the GRUMPY CAT

           Trademarks and copyrighted artwork, including any accounts associated with the

           Defendants listed in Schedule A;

       b. disable and cease displaying any advertisements used by or associated with

           Defendants in connection with the sale of counterfeit GRUMPY CAT products using

           the GRUMPY CAT Trademarks and copyrighted artwork; and

       c. take all steps necessary to prevent links to the Defendant Domain Names identified in

           Schedule A from displaying in search results, including, but not limited to, removing

           links to the Defendant Domain Names from any search index; and

       5) That Defendants account for and pay to Plaintiff all profits realized by Defendants by

reason of Defendants’ unlawful acts herein alleged, and that the amount of damages for

infringement of the GRUMPY CAT Trademarks and copyrighted artwork be increased by a sum

not exceeding three times the amount thereof as provided by 15 U.S.C. § 1117;

       6) In the alternative, that Plaintiff be awarded statutory damages pursuant to 15 U.S.C. §

1117(c) of not less than $1,000 and not more than $2,000,000 for each and every use of the

GRUMPY CAT Trademarks;

       7) That Plaintiff be awarded their reasonable attorneys’ fees and costs; and

       8) Award any and all other relief that this Court deems just and proper.




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                               Respectfully submitted,

Dated: April 25, 2023
                               By:    s/Michael A. Hierl             _
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                                CERTIFICATE OF SERVICE

       The undersigned attorney hereby certifies that a true and correct copy of the foregoing
Complaint was filed electronically with the Clerk of the Court and served on all counsel of
record and interested parties via the CM/ECF system on April 25, 2023.



                                                     s/Michael A. Hierl




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